   Case 1:21-cr-20406-KMW Document 14 Entered on FLSD Docket 08/09/2021 Page 1 of 1

                                          M IN UTE O RD ER                                           Page4
                                  M agistrate Judge Lauren F.Louis
                   AtkinsBuildingCourthouse-11thFloor                      Date:8/6/2021        Time:1:30p.m.
Defendant: NAM AN w AKIL                    J#:02427-506    Case #: 21-CR-20406-W lLLIAM S
AUSA:     M ichaelBerger                              Attorney: Stephen J.Binhak
violation: CONSP/COMMITOFFENSEAGAINSTTHEU.S./FOREIGN Surr/ArrestDate:             YOB:1961
          CORRUPT PRACTICES ACT

Proceeding: PTD                                               CJA Appt:
Bond/PTD Held:C Yes C No                 Recommended Bond:
Bond Setat:                                                       Co-signed by:
 IQ
  V surrenderund/ordonotobtc/npassports/traveldocs                     Language: Spanish
 nv ReporttoPTsasdirected/or                   x'saweek/monthby Disposition:
      phone:          x'saweek/monthinperson                            ++B       w   '    Ir      'v *+
      Random urine testing by Pretrial
 Nr Services                                                            RRC/ARR8/18
      Treatm entasdeem ed necessary
 Nr   Refrainfrom excessiveuseofalcohol                                                                   '
 Nr   Participateinmentalhealthassessment&treatment                     Video
 Nr   Maintainorseekfull-timeemployment/education                                                              .
 Nr   Nocontactwithvictims/witnesses,exceptthroughcounsel               STIP$50milliondollurpersonal
 nr   Nofirearms                                                        suretybondandszl.amillioncash
 nv   Nottoencumberproper    w                                          bondtobedepositedintot,vregistrv
 nv   Maynotvisi  ttransportationestablishments                         olthecourt(amountmavneedtobe
      Home conf/nem entzcps v onîtorinq andzor
               .
                                                                        changed depending on the
      Curfew             pm to            am'puidby Defendant           Jpprozmlteamount)
 M Allowunces:Medkalneeds,courtuppearances,attorneyvisits,
   religious,em ploym ent
 Nr Travelextendedto:                                                    yjmefromtodayto            excluded
 NV other: Noaccesstoprivuteplane                                        fromspeedyTrialclock
NEXT COURT APPEARANCE    Datè:            Tim e:         Judge:                       Place:
Report RE Counsel:
PTD/BondHearing:
Prelim/ArraignorRemoval:
status conference RE:
D.A.R. 13:35-
            .14/14:32:44                                      Time inCourt: 45 mins
                                   s/Lauren F.Louis                             M agistrateJudge
